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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                        Case No. 4:14-cr-00099-BLW

                      Plaintiff,
                                                  ORDER
        v.

 ALEJANDRO MARTINEZ-ZAVALA, et
 al.,

                      Defendants.


       Co-defendant Ramon Meraz-Gallegos was recenlty arraigned. His trial was set for

July 28, 2014. Co-defendants Eduardo Barragan-Corrales and Miguel Gutierrez-Munoz

are scheduled for trial on June 30, 2014. Under the Speedy Trial Act, 18 U.S.C. §

3161(h)(6), excludable time exists for “a reasonable period of delay when the defendant is

joined for trial with a co-defendant as to whom the time for trial has not run and no

motion for severance has been granted.” No motion for severance has been filed.

Accordingly, pursuant to 18 U.S.C. § 3161(h)(6), the Court finds that defendants Eduardo

Barragan-Corrales and Miguel Gutierrez-Munoz should have their trial dates continued to

July 28, 2014 along with Ramon Meraz-Gallegos. Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED that the present trial date for

Eduardo Barragan-Corrales and Miguel Gutierrez-Munoz be VACATED, and that a new



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trial be set for July 28, 2014 at 1:30 p.m. in the U.S. Courthouse in Pocatello, Idaho.

       IT IS FURTHER ORDERED that the period of time between the prior trial date

and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6).

       IT IS FURTHER ORDERED that the current trial readiness conference for

Eduardo Barragan-Corrales and Miguel Gutierrez-Munoz be VACATED, and that a new

trial readiness conference be conducted by telephone on July 17, 2014 at 4:00 p.m. The

Government shall place the call to (208) 334-9145 with opposing counsel on the line.

       IT IS FURTHER ORDERED that all pretrial motions shall be filed on or before

June 30, 2014.



                                          DATED: June 12, 2014



                                          B. LYNN WINMILL
                                          Chief U.S. District Court Judge




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